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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON

                                                      :
 Michelle Mele, on behalf of herself and all          :
 others similarly situated,                           :
                                                        Civil Action No.: 3:19-cv-06114-BHS-MLP
                                                      :
                             Plaintiff,               :
               v.                                     :
                                                      :
 Medical Management International, Inc. d/b/a         :
 Banfield Pet Hospital,                               :
                                                      :
                             Defendant.               :

                                          NOTICE OF SETTLEMENT

             Plaintiff Michelle Mele, by and through her undersigned counsel, and with the consent of

Defendant Medical Management International, Inc. d/b/a Banfield Pet Hospital, hereby gives

notice that the Parties have reached a settlement of this matter. The Parties anticipate filing

dismissal documents within thirty (30) days.

Dated: April 5, 2021                                     Respectfully submitted,

                                                    By: /s/ Stephen Taylor
                                                        Stephen Taylor (pro hac vice)
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                                                          Of Counsel to
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                                                          Attorneys for Plaintiff
 Mele notice of settlement
 April 5, 2021 11:38 AM
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                               CERTIFICATE OF SERVICE
       THIS IS TO CERTIFY that on April 5, 2021, a copy of the foregoing was filed with the
Court through the CM/ECF system which sent notice of such filing to the following parties:

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                                                        /s/ Sarah Stasch
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